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              EXHIBIT 1
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                                              (Exhibit 1)

        UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF
                               CALIFORNIA

        If you purchased Younique Moodstruck 3D Fiber Lashes
        between October 2012 and July 2015 Your Rights May be
                  Affected By A Class Action Lawsuit

        A Federal Court authorized this notice. This is not a solicitation from a lawyer.

        •   A class action lawsuit involving purchasers of Younique Moodstruck 3D Fiber Lashes in
            California, Ohio, and Florida is currently pending in federal court in Santa Ana,
            California. The main claim in the case is that Younique told consumers the fiber lashes in
            the mascara were made of 100% Natural Green Tea Fibers, but in reality the fibers were
            ground-up nylon. Younique denies any wrongdoing. The Court has not decided who is
            right.

        •   On January 10, 2019 the court in this case certified classes of consumers in California,
            Ohio and Florida who purchased Younique Moodstruck 3D Fiber Lashes between October
            2012 and July 2015. Unless you decide to exclude yourself no later than ___, 2019, your
            claims will be decided in this case along with other members of the class.

        •   Your legal rights are affected whether you act, or don’t act. Please read this notice
            carefully.
                                [INSERT PICTURE OF MASCARA]

                             YOUR LEGAL RIGHTS AND OPTIONS


                             Your legal rights will be determined by the outcome of this case and any
                             judgment in the case will apply to you along with the other members of the
                             class. You may be entitled to any money or other benefits are awarded later
      Do Nothing             from a trial or settlement. But you will never be able to sue the Defendant
                             separately over the claims in this case and you will be bound by any
                             judgment.

                             The results of the case, whether win, lose or settlement, will not affect you.
   EXCLUDE YOURSELF
                             If any money or benefits are awarded later from a trial or settlement you
FROM THE CASE BY XXXXX
          2019               will not be eligible for them. But you will keep any rights you have to sue
                             the Defendant separately over claims in this case that are not time-barred.
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        •     These rights and options—and the deadlines to exercise them—are explained in this
              notice. The deadlines may be moved, canceled, or otherwise modified without additional
              notice, so please check the court’s docket or the case website________.

                                          BASIC INFORMATION
   1.       Why am I getting this notice?
            Records provided by Younique show that you purchased Moodstruck 3D Fiber Lashes
            between October 2012 and July 2015 and you live or lived in California, Ohio, or Florida
            when you made your purchase. You have a right to know about this lawsuit because your
            rights may be affected by its outcome. This notice will give you information about the case
            so you can decide whether you want to remain part of the case or exclude yourself.

   2.       What is this lawsuit about?
            The lawsuit was brought by several individuals (the “Plaintiffs”) and alleges that Younique,
            LLC (the “Defendant”) violated certain consumer protection and warranty laws in the
            labeling, marketing, and advertising of Younique Moodstruck 3D Fiber Lashes sold from
            October of 2012 to July of 2015.

            The lawsuit alleges that Younique stated that the fiber lashes in the mascara were made of
            “100% Natural Green Tea Leaves” but the fibers were actually ground-up plastic instead.
            The Plaintiffs are seeking monetary damages.

   Younique denies wrongdoing and the court has not decided who is right. The case is proceeding in
   the United States District Court for the Central District of California (the “Court”), and the case is
   called Schmitt v. Younique, Case No. 8:17-cv-01397. The judge overseeing the case is United
   States District Judge James V. Selna. A copy of the Plaintiffs’ complaint and Defendant’s answer
   to the complaint is available at www.____.com.


   3.       Why is this a class action?
            In a class action, one or more people, called “Class Representatives,” sue on behalf of people
            who have similar claims. All these people are in a “class” or “class members,” except for
            those who exclude themselves from the class. The Court determined this case could proceed
            as a class action on January 10, 2019. A copy of the Court’s order can be found at
            www.____.com.

   4.       How do I know if I am included in the Case?
            If you are a consumer in California, Ohio or Florida who purchased Younique Moodstruck
            3D Fiber Lashes between October 2012 and July 2015, you are likely included in the Case.

   5.       Which Products are included in the Case?
            The product that is the subject of the case is the Younique Moodstruck 3D Fiber Lashes
            mascara sold between October 2012 and July 2015. The case does not involve the 3D Fiber
            “Plus” mascara that was sold after July of 2015.
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   6.   What if I am still not sure if I am included in the Case?
        If you are not sure whether you are a Class Member, or have any other questions about the
        case, you should visit the Case Website, www._____.com, or contact the notice administrator
        by email (insert email) or the toll-free number, [insert toll-free number]..

                  STAYING IN THE CASE OR EXCLUDING YOURSELF
        If you don’t want to be part of the case and you want to keep the right to sue Defendant on
        your own about the legal issues in this case, then you must take steps to remove yourself
        from the case. This is called excluding yourself, or it is sometimes referred to as “opting
        out” of the Class.

   7.   How do I Exclude Myself from the Case?
        To exclude yourself (or “Opt-Out”) from the Case, you must complete and mail by U.S. Mail
        to the Notice Administrator a written request that includes the following:
        •         Your name and address;
        •         The name of the case: Schmitt v. Younique, Case No. 8:17-cv-
                  01397 (C.D.Cal.);
        •         A statement that you want to be excluded from the case; and
        •         Your signature.
        You must mail your exclusion request, postmarked no later than XXXX, 2019 to:
                                              _______
        If you don’t include the required information or submit your request for exclusion on time,
        you will remain a Class Member and your claims will be decided in this case.

        If you request to exclude yourself, the Court will exclude you from the case.

   8.   What am I giving up if I do not exclude myself from the Case?
        Unless you exclude yourself from the Case, your rights with respect to your purchase of
        Younique Moodstruck 3D Fiber Lashes between October 2012 and July 2015 will be
        determined by the outcome in this case. So unless you exclude yourself, you cannot sue the
        Defendant on your own, or be part of any other lawsuit against the Defendant about the legal
        issues in this case. It also means that all of the decisions by the Court in this case will be
        binding on you, win or lose.

                           THE LAWYERS REPRESENTING YOU
   9.   Who are the lawyers for the Class in this Case?
        The Court has appointed lawyers and firms as “Class Counsel,” meaning that they were
        appointed to represent all Class Members. The firms are The Sultzer Law Group P.C., Walsh
        PLLC, Nye Peabody Stirling Hale & Miller, LLP, and Carlson Lynch Sweet Kilpela &
        Carpenter, LLP.
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         These lawyers are working on the case on a contingent basis and you will not be charged. If you
         want to be represented by your own lawyer, you may hire one at your own expense. You may
         also enter an appearance in the case through your own attorney if you wish to do so.
                                         IF YOU DO NOTHING

   10.   What happens if I do nothing at all?
         If you do nothing, your claims will be decided along with the claims of the other class members,
         and you will give up the right to sue Younique based on the issues in this case. Any decisions
         in the case, win or lose, will be binding on you.

                                 GETTING MORE INFORMATION

   11.   How do I get more information?
         Information about the case as well as updates and documents can be found at
         www.________.com. If you have additional questions you can email the notice
         administrator at ______ or call at _________. You may also contact the class counsel listed
         above.

   PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE CONCERNING
                              THIS CASE.
